Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 1 of 9 Page ID #:282




                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




        RAMIN M. ROOHIPOUR, M.D.,          CV 21-6434 DSF (GJSx)
        INC., a California corporation;
        and R&R SURGICAL                   Order GRANTING Defendants’
        INSTITUTE, an unincorporated       Motion to Dismiss Plaintiffs’
        association,                       Second Amended Complaint (Dkt.
              Plaintiffs,                  22)

                       v.

        BLUE CROSS BLUE SHIELD
        OF ILLINOIS, an Illinois
        Corporation; and DOES 1
        through 20, inclusive,
             Defendants.



          Defendant Health Care Services Corporation (HCSC) moves to
    dismiss Plaintiffs Ramin M. Roohipour, M.D., Inc. and R&R Surgical
    Institute’s Second Amended Complaint (SAC). Dkt. 22-1 (Mot.). 1
    Plaintiffs oppose. Dkt. 23 (Opp’n). The Court deems these matters
    appropriate for decision without oral argument. See Fed. R. Civ. P. 78;
    Local Rule 7-15. For the reasons stated below, HCSC’s Motion is
    GRANTED in part and DENIED in part.




    1HCSC states it was erroneously sued as Blue Cross Blue Shield of Illinois.
    Dkt. 22-1 (Mot.) at 1. For the purposes of this Order, the Court refers to
    HCSC rather than BCBS when referring to the allegations in the SAC.
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 2 of 9 Page ID #:283




                            I. LEGAL STANDARD

           Rule 12(b)(6) allows an attack on the pleadings for failure to state
    a claim on which relief can be granted. “[W]hen ruling on a defendant’s
    motion to dismiss, a judge must accept as true all of the factual
    allegations contained in the complaint.” Erickson v. Pardus, 551 U.S.
    89, 94 (2007) (per curiam). However, a court is “not bound to accept as
    true a legal conclusion couched as a factual allegation.” Ashcroft v.
    Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
    U.S. 544, 555 (2007)). “Nor does a complaint suffice if it tenders ‘naked
    assertion[s]’ devoid of ‘further factual enhancement.’” Id. (alteration in
    original) (quoting Twombly, 550 U.S. at 557). A complaint must “state
    a claim to relief that is plausible on its face.” Twombly, 550 U.S. at
    570. This means that the complaint must plead “factual content that
    allows the court to draw the reasonable inference that the defendant is
    liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. There must
    be “sufficient allegations of underlying facts to give fair notice and to
    enable the opposing party to defend itself effectively . . . and factual
    allegations that are taken as true must plausibly suggest an
    entitlement to relief, such that it is not unfair to require the opposing
    party to be subjected to the expense of discovery and continued
    litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

           Ruling on a motion to dismiss will be “a context-specific task that
    requires the reviewing court to draw on its judicial experience and
    common sense. But where the well-pleaded facts do not permit the
    court to infer more than the mere possibility of misconduct, the
    complaint has alleged – but it has not ‘show[n]’ – ‘that the pleader is
    entitled to relief.’” Iqbal, 556 U.S. at 679 (alteration in original)
    (citation omitted) (quoting Fed. R. Civ. P. 8(a)(2)).

           Under Federal Rule of Civil Procedure 9(b), fraud claims must be
    pleaded with particularity. Kearns v. Ford Motor Co., 567 F.3d 1120,
    1126 (9th Cir. 2009). “[A] plaintiff must set forth more than the neutral
    facts necessary to identify the transaction.” In re GlenFed, Inc. Sec.
    Litig., 42 F.3d 1541, 1548 (9th Cir. 1994). Fraud allegations must “be
    specific enough to give defendants notice of the particular misconduct


                                         2
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 3 of 9 Page ID #:284




    so that they can defend against the charge and not just deny that they
    have done anything wrong.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d
    1097, 1106 (9th Cir. 2003) (citing Bly-Magee v. California, 236 F.3d
    1014, 1019 (9th Cir. 2001) (simplified)).

           As a general rule, leave to amend a complaint that has been
    dismissed should be freely granted. Fed. R. Civ. P. 15(a). “However,
    the district court may exercise its discretion to deny leave to amend due
    to ‘undue delay, bad faith or dilatory motive on part of the movant,
    repeated failure to cure deficiencies by amendments previously allowed,
    undue prejudice to the opposing party . . ., [and] futility of amendment.’
    Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 892 (9th Cir. 2010)
    (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). “Futility of
    amendment can, by itself, justify the denial of a motion for leave to
    amend.” Bonin v. Calderon, 59 F.3d 815, 845 (9th Cir. 1995).

                               II. DISCUSSION

    A.    Breach of Contract

          HCSC moves to dismiss Plaintiffs’ claim for breach of an oral
    contract by which HCSC allegedly promised Plaintiffs they would be
    paid at specific percentages of the “allowable rate” and that
    preauthorization was not required. SAC ¶ 61. “[T]he elements of a
    cause of action for breach of contract are (1) the existence of the
    contract, (2) plaintiff’s performance or excuse for nonperformance, (3)
    defendant’s breach, and (4) the resulting damages to the plaintiff.”
    Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821 (2011).

           “To be enforceable under California law, a contract must be
    sufficiently definite for the court to ascertain the parties’ obligations
    and to determine whether those obligations have been performed or
    breached.” Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d 777, 789
    (9th Cir. 2012) (internal quotation marks omitted). “The terms of a
    contract are reasonably certain if they provide a basis for determining
    the existence of a breach and for giving an appropriate remedy.”
    Sateriale, 697 F.3d at 789.




                                        3
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 4 of 9 Page ID #:285




           The Court previously dismissed Plaintiffs’ breach of oral contract
    claim, explaining that Plaintiffs had “failed to allege facts that, taken
    as true, allow the Court to infer that HCSC made a promise to
    Plaintiffs.” Dkt. 20 (Order) at 8-9. In an apparent attempt to remedy
    the deficiencies in the First Amended Complaint, Plaintiffs modified
    the SAC to replace the word “represented” with “assured” without
    alleging any other specific facts. See SAC ¶¶ 15, 16, 17, 24, 25, 26, 35,
    36, 41, 54, 55. Plaintiffs also now allege the maximum allowable rate is
    the same as the usual, customary, and reasonable (UCR) rate because,
    based on their experience, HCSC pays out-of-network claims at a
    percentage of the “allowable” amount. Plaintiffs contend this is
    equivalent to the UCR rate – “the amount paid for a medical service in
    a geographic area based on what providers in the area usually charge
    for the same or similar medical service.” Id. ¶ 10. But Plaintiffs do not
    assert HCSC promised them it would pay at the UCR rate. Plaintiffs
    still have not plausibly alleged that HCSC had an oral contract with
    them.

           It is not clear whether Plaintiffs’ claim that HCSC “represented
    that preauthorization was not required for the proposed surgeries and
    that no other relevant pre-service restrictions or requirements applied,”
    id. ¶ 62, is a claim for a separate breach, or merely supports the claim
    for payments of the specific amounts claimed by Plaintiffs. However,
    as Plaintiffs assert that “[HCSC] breached the oral agreement by
    failing to pay [Plaintiffs] for services rendered to PATIENTS A, B and
    C at the pre-service represented rates,” id. ¶ 65, and the Court finds the
    oral agreement has not been plausibly pleaded, the Court need not
    resolve this issue.

          The Court GRANTS HCSC’s motion for breach of oral contract.

    B.    Promissory Estoppel

          Plaintiffs’ claim for promissory estoppel is also dismissed. The
    elements of promissory estoppel are “(1) a clear and unambiguous
    promise; (2) reliance by the party to whom the promise is made; (3) the
    reliance is both reasonable and foreseeable; and (4) the party asserting



                                        4
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 5 of 9 Page ID #:286




    estoppel is injured by his reliance.” U.S. Ecology Inc. v. State of
    California, 129 Cal. App. 4th 887, 901 (2005).

          Because Plaintiffs have not sufficiently alleged a clear and
    unambiguous promise to pay any specific rate, they have not stated a
    claim for promissory estoppel. Moreover, even if Plaintiffs alleged facts
    had allowed an inference of the existence of an oral agreement between
    Plaintiffs and HCSC, the promise was far from “clear and
    unambiguous.” See id. Plaintiffs allege HCSC “assured” them no
    preauthorization was required for the procedures, SAC ¶¶ 16, 25, 41,
    55, but this does not equate to an unambiguous promise that payment
    to Plaintiffs could not be denied for any reason or that payment in any
    specific amount or on any particular basis would be made. See id. ¶ 70.

         The Court GRANTS HCSC’s motion as to the claim for
    promissory estoppel.

    C.    Intentional and Negligent Misrepresentation

          The Court previously granted HCSC’s motion as to Plaintiffs’
    claims for intentional and negligent misrepresentation, finding
    Plaintiffs had failed to allege facts with particularity showing HCSC
    made a misrepresentation, such as the amount of the maximum
    allowable rate, whether they requested that information from HCSC, or
    that HCSC provided them with an inaccurate rate. Order at 10.

          The elements of a claim for intentional misrepresentation are:
    (1) misrepresentation, including concealment or nondisclosure;
    (2) knowledge of the falsity of the misrepresentation; (3) intent to
    induce reliance; (4) justifiable reliance; and (5) resulting damages.
    Chapman v. Skype Inc., 220 Cal. App. 4th 217, 230-31 (2013). “The
    essential elements of a count for negligent misrepresentation are the
    same except that it does not require knowledge of falsity but instead
    requires a misrepresentation of fact by a person who has no reasonable
    grounds for believing it to be true.” Id. at 231. Both claims are subject
    to the heightened pleading requirements of Rule 9(b). Claims grounded
    in fraud, including misrepresentation, must be pleaded with
    particularity under Rule 9(b). Avakian v. Wells Fargo Bank, N.A., 827


                                         5
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 6 of 9 Page ID #:287




    F. App’x 765, 766 (9th Cir. 2020) (holding “claims for unfair business
    practices, intentional misrepresentation, fraud, and negligent
    misrepresentation are all fraud-based claims, and must meet the
    heightened pleading requirements of Rule 9(b) of the Federal Rules of
    Civil Procedure.”).

          Plaintiffs assert HCSC made two misrepresentations: (1) that
    Plaintiffs would be paid for services to Patients A and C at 60% of the
    UCR rate and to Patient B at 50% of the UCR rate; and (2) that there
    were no preauthorization or precertification requirements. SAC ¶¶ 75,
    83.

           Plaintiffs have failed to allege additional facts with particularity
    regarding the first category of alleged misrepresentations. As the
    Court previously explained, Plaintiffs’ allegations lack key facts to
    support the claim that HCSC made a misrepresentation. Order at 10.
    As for Plaintiffs’ allegations that HCSC misrepresented that the
    “allowable” amount would not necessarily be the same as the UCR rate,
    SAC ¶¶ 76 (a) and (c), Plaintiffs still do not allege that they actually
    asked HCSC what the maximum allowable rate would be or that HCSC
    provided them with a rate that was inaccurate. To the extent Plaintiffs
    allege HCSC concealed that the UCR rate could be overridden, id. ¶¶
    76 (b), (d), and (g), the allegations are not actionable because Plaintiffs
    have not alleged they relied on an assumption that the UCR rate could
    not be overridden. And with respect to Plaintiffs’ assertion that they
    “dispute” HCSC’s post-service appeal determination that a February
    2019 facility fee claim for Patient B “exceeds the UCR rate,” this does
    not identify any alleged misrepresentation on HCSC’s part and,
    therefore, also fails.

          Plaintiffs have alleged with particularity the second alleged
    misrepresentation – that there were no preauthorization or
    precertification requirements. In their claims for intentional and
    negligent misrepresentation, Plaintiffs contend, for example, that
    HCSC “represented pre-service that service code 43775 did not require
    pre-authorization.” Id. ¶ 76(f). Plaintiffs allege that they spoke on the
    phone with a representative, who “assured” them that prior


                                         6
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 7 of 9 Page ID #:288




    authorization was not required for service codes 43775, 47562, or
    43289, but that on denial of Plaintiffs’ claim for Patient B, HCSC’s
    response letter stated, “the service code 43775 is not covered based on
    our corporate medical policy criteria.” Id. ¶¶ 41, 50. Plaintiffs also
    allege that “Defendant failed to disclose pre-service that service code
    43775 was not covered.” Id. ¶ 76(f).

          Regardless of the merits of Plaintiffs’ preauthorization claims,
    Plaintiffs have not plausibly alleged that HCSC intended to induce
    reliance, and instead simply conclude that “Defendant intended that
    Plaintiffs rely on the representations.” See id. ¶¶ 78, 86. But Plaintiffs
    have not pled any reason – much less a plausible reason – for the
    alleged representations. Plaintiffs do not suggest why any insurance
    company (much less HCSC on the facts alleged here) would want to
    encourage healthcare providers to make a claim against its policy
    knowing or disregarding that the claim would not be paid. While
    Plaintiffs may plead intent generally, see Fed. R. Civ. P. 9(b), such
    allegations remain subject to the plausibility standard under Rule 8(a).
    Plaintiffs’ bare assertions are insufficient to plausibly allege HCSC’s
    intent to induce reliance.

          The Court GRANTS HCSC’s motion as to the claims for
    intentional and negligent misrepresentation.

    D.    Unfair Competition (UCL)

           The Court previously dismissed Plaintiffs’ claim for unfair
    competition because Plaintiffs had not alleged a legislative policy,
    which is required under the “unfair” prong, and Plaintiffs failed to
    plead misrepresentation, as required for the “fraudulent” prong. Order
    at 12. Because Plaintiffs still fail to plead misrepresentation, they have
    also failed to state a claim of unfair competition under the fraudulent
    prong. With respect to the unfair prong, the SAC contains new
    allegations ostensibly regarding legislative policy, but the Court need
    not address those new allegations because the Court finds Plaintiffs
    have not plausibly alleged they have standing to sue under the unfair
    prong of the UCL. Defendant argues Plaintiffs do not have standing



                                        7
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 8 of 9 Page ID #:289




    under the UCL because they have not alleged whether they are
    competitors or consumers. Mot. at 13-14. 2 The Court agrees. Plaintiffs
    do not allege they are consumers of HCSC’s services for purposes of
    individual standing, nor do they contend in their Opposition that they
    are in fact consumers.

           Plaintiffs allege they “separately have standing to bring a
    representative UCL action on behalf of their patients.” Opp’n at 15,
    citing Rosenbluth Int’l v. Superior Court, 101 Cal App. 4th 1073 (2002).
    But the California Supreme Court has held that representative actions
    under the UCL “must meet the requirements of a class action.” Arias v.
    Superior Ct., 46 Cal. 4th 969, 980 (2009); see also In re WellPoint, Inc.
    Out-of-Network UCR Rates Litig., 903 F. Supp. 2d 880, 900 (C.D. Cal.
    2012) (dismissing healthcare providers’ UCL claim based on
    representative standing). Here, Plaintiffs appear to claim they
    “represent” their three patients. Because Plaintiffs have not alleged
    they are consumers, and this suit is not brought as a class action,
    Plaintiffs have not plausibly alleged standing under the UCL. 3

                                 III. CONCLUSION

          The motion to dismiss is GRANTED. Plaintiffs contend leave to
    amend should be granted because amendment would not be futile.
    Opp’n at 1. Obviously, if Plaintiffs could plead additional facts that
    would plausibly state a claim they should have done so during the prior
    three attempts. Nevertheless, the Court will grant one final
    opportunity to amend, if Plaintiffs can do so consistent with Rule 11 of
    the Federal Rules of Civil Procedure. An amended complaint

    2 Defendant also asserts Plaintiffs’ UCL claim should be dismissed because it
    is based on underlying claims that are not actionable. Mot. at 13. As the
    Court clearly explained in its prior Order, this argument is inapplicable
    because Plaintiffs did not base their UCL claim on the unlawful prong. See
    Order at 11 n.5.
    3 In addition, Plaintiffs specifically allege that the claims are based on their
    rights “as independent entities and are not derivative of the contractual or
    other rights of [their] patients. SAC ¶ 9.



                                            8
Case 2:21-cv-06434-DSF-GJS Document 26 Filed 01/13/22 Page 9 of 9 Page ID #:290




    consistent with this order must be filed and served no later than
    February 3, 2022. Failure to file by that date will waive the right to do
    so. The Court does not grant leave to add new defendants or new
    claims. Leave to add defendants or new claims must be sought by a
    separate, properly noticed motion.



       IT IS SO ORDERED.



     Date: January 13, 2022                 ___________________________
                                            Dale S. Fischer
                                            United States District Judge




                                        9
